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      Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 1 of 7
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            z                                 UNITED STATESDISTRICT COURT                                                                  .
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                                                     SOUTHERNDISTRICTOFFLORTDA                                                                 '1
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    ..y..'...
                                                        FORTLAUDERDALEDIVISION                                                                  )
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    EbNicrl:o STATESoFAMERICA                                                      JIJDGMENTIN A cm MlxAtzcAsE ..-
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     Y!.7                                                                                                                   ,
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        ..       .,          .    .                                                CaseNumber:1:21-CR-20218-AHS(5)
     PED R O M AR RE R O SIM ON ,                                                  U SM N um ber:39609-509
        a/k/aStAgujar''
                                                                                   CounselforDefendant:DianneElizabeth Carames
                                                                                   CounselforUnited States:Sean Thom asM cLaughlin
                                                                                                                                       .   è

    TH E D EFEND AN T :
     (
     Z pleadedguiltytocountts)                                         1oftheIndictment
         pleadedgui
                  ltytocountts)beforeaU.S.Magistrate
                         .

                      Jud e,which wasacce tedb thecourt.
         ED pleadednolocontenderetocountts)whichwas
                      acce tedb thecourt
         Z Wàsfoundguiltyoncountts)afterapleaofnotguilty                                                                             '

    Thedefendantisadjudicatedguiltyoftheseoffenses:
     Title& Section/NatureofO ffense                                                                 OffenseEnded
     21U.S.C.j846ConspiracytoPossesswiththeIntenttoDistributeMethamphetamine                         04/08/2021




    Thedefendantissentencedasprovidedinpages2tilrough7ofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
    Reform Actof1984.                                                                      '

         EEI Thedeflendanthasbeenfoundnotguiltyoncountts)
         E
         ZI countts) EEIis I ZI aredismissedonthemotionoftheUnitedStates
                       ltisorderedthatthedefendantmustnotify theUnited Statesattorney forthisdistrictwithin 30 daysofany changeofnamè,
    residence,ormailingaddressuntila1lfines,restitution,costs,andspecialassessmentsimposedbythisjudgmentttrefullypaid.If
    orderedtopay restitution,thedefendantmustnotify thecourtandUnited Statesattorney ofmaterialchangesineconomic
    circumstances.

                                                                        Aueust25.2022
                                                                        DateofImpositionofJudgment
                                                                                           N



                                                                        SignatureofJudgc                  4

                                                                        R AAG SINGH AL
                                                                        UNITED STATES DISTRICT JUDGE
                                                                        NameandTi ofJudge

                                                                        fo
                                                                        Date
                                                                            f                  Tz-
    Case
    '
    L)   1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 2 of 7
 AO 245$ (Rev,FLSD 2/20)JudgmentinaCriminalCase                                                                  Judgment- Page2 of7

DEFENDANT:                    PEDRO M ARRERO SIM ON
CASE NUMBVR:                   l:21-CR-20218-AHS(5)
                                                          IM PR TSO N M E N T

Thedefendantisherebycommittedtothecustody oftheUnited StatesBureauofPrisonsto beimprisoned foratotalterm of:

72 M onthsasto Count1oftheIndictm ent.

    Zl Thécoul'
              tmakesthefollowingrecommendationstotheBureauofPrisons:
            Thedefendantbeallowedto participateintheRDAP substanceabusetreatmentprogram


'(
 Zl ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
 t
'       ;
        .
    (
    2 'rliedeikndantshallsurrendertotheUnitedStatesMarshalforthisdistrict:

             EZ at                                                              P.m .     On

              Z    asnotifiedbytheUnitedStatesMarshal.

    (7) ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:

              EZI before2p.m.on
              EEI asnotifiedbytheUnitedStatesMarshal.
              EEI asnotifiedbytheProbationorPretrialServicesOffice.


                                                                 M TU M
Ihaveexecutedthisjudgmentasfollows:

                                      ' ..,. '.   ' .'

            Defendantdelivered on . ê
                                    . .' ' .: '                        to

                                  : 'o. ?Js :                               .
            , ' . ,.K.4..'
                         ..
                          ' '.,... . ','
              .
p.
 t.                       .               Eà'
                                       .'''
                                          . :
                                             ,,,'',with acertitied copy ofthisJudgment.



                                                                                               UNITEDSTATESMARjHAu '
                                                                                                       By
                                                                                           DEPUTY UNITED STATESM ARSHAL
 Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 3 of 7
 AO 24:3 (Rev.IVLSD 2/20)JudgmentinaCriminalCase                                               Judgment--Page3'
                                                                                                              i)f7

DEFEX ANT:             PEDRO M ARRERO SIM ON
CA SE N UM BER :       1:21-CR-20218-AHS(5)
                                          SU PER V ISED R E LEA SE
Ujonfeleasefrom imprisonlnent,thede'
                                   fendantshallbeonsupervisedreleaseforaterm of:Five(5)YearsastoCouht.tdfthé
Indictm ent.                                                                               .       ''
                                                                                                    ...
                                                                                                      '. '
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                                                                                                         '
                                                                                                         .-' '
                                                                                                             .
                                                                                                             '
                                                                                                             .,


                                      M A N D A T O R Y C O N D ITIO N S

     Youmustnotcommitanotherfederal,stateorlocalcrime.
 2. You mustnotunlawfully possessacontrolledsubstance.
     Yqumustrefrain from any unlawfulgseofacontrolledsubstance.Youmustsubmitto onedrugtestwithin 15 daysofrelease
     from imprisonm entandatleasttwo periodicdrugteststhereafter,asdetenninedby thecourt.
         ((() Theabovedrugtestingconditionissuspended,basedonthecourfs 'detenminationthatyouposea1ow riskoffuture
              substanceabuse.(checkfapplicable)
    (
    444) Youmustmakerestitutioninaccordancewith 18U.S.C.jj3663and3663A oranyotherstatuteauthorizingasentence
         ofrestitm ion.(checkfapplicable)
    H YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.Lcheckfapplicable)
    I
 6, EE ) YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U'      .S.C.j20901,et
         seq.)asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexgffenderregistrationagencyinwhich
         youreside,work,areastudent,orwereconvictedofaqualifyingoffense.(checkfapplicablej
         Youmustparticipateinanapprovedprogram fordomesticviolence.(checkêapplicable)
          Youmustcomplywiththestandard conditionsthathavebeenadopted by thiscourtaswellaswithany additional
 conditionsontheattachedpage.
  Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 4 of 7
 'A(?2498(Rev.FLSD2/20)JudgmentinaCriminalCase                                                        Judgment--Page4 of7
 ) '

bEFENDANT:               PEDRO M ARRERO SIM ON
èASENUMBEIi:             1:21-CR-20218-AHS(5)
                           STA N D A          CO       IT IO N S O F SU PER V ISIO N



                                                                                                      . '         .   . .J
                                                                                                                         '.     .:.

1.Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursotyour
releasefrom imprisonment,unlesstheprobationofficerinstructsyouto reportto adifferentprobation officeorwithip adifferenttime
frqlpe.                                                    .                                                  ,             .

2.Aflerinitiallyreportingtotheprobationoftice,youwi1lreceiveinstructionsfrom thecourtortheprobationofficeraboutliow '
                                                                                                                    and
when youmustreportto theprobationofficer,and youmustreportto theprobation officerasinstructed.
3:
ilYôumustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpermissionfrom
t ecourtOrtheprobation oftker.                                                                            '    '
4.You mustanswertruthfully thequestionsaskedby yourprobation officer.
5.You mustliveataplaceapproved by theprobation officer.lfyouplanto changewhereyouliveoranythingaboutyourliving
aaangements(suchasthepeopleyoulivewith),youmustnotifythegrobationofticeratleast10daysbeforethechange.lfnotifying
theprobation offiçerin advanceisnotpossibledueto unanticipatedclrcumstances,you mustnotifytheprobationofficerwithin 72
hoursofbecomingiwareofachangeorexpectedchange.                                                       .
6..You mustallow theprobation officertovisityou atany timeatyourhomeorelsewhere,andyoumustpermittheprobation officer
totak, eanyitemsprohibited by theconditionsofyoursupervisionthatheorsheobservesin plainview.
7.Youmustworkfulltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationofficerexcusesyoufrom
doing so.Ifyou donothavefull-timeemploymentyou musttryto find f'
                                                               ull-timeemployment,unlesstheprobation ofticerexcuses
jloufrom doing'so.IfyouplantochangewhereyouworkoranythingaboutyourWork(suchasyourpositionoryourjob
responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.Ifnotifyingtheprobationofficeratleast10
dgysipadvance isnotpossibleduetounanticipatedcircumstances,youmustnotify theprobation officerwithin72 hourspf...:'
                                                                                                                 ,
                                                                                                                        .

becoming awareofachangeorexpectedchange.
i1:Yo
 . .
     pmustnotcommunicateorinteractwithsomeoneyouknow isengagedincriminalactivity.Ifyouknow someonehasbeen
convictedofafelony,you mustnotknowingly communicateorinteractwiththatpersonwithoutfirstgetting theperm ission ofthe
probation ofticer.                                                                      '
9.Ifyou arearrestedorquestioned by a1aw enforcementofticer,you mustnotifytheprobationofficerwithin 72hours.     .
 10.Youmustnotown,possess,orhaveaccesstoafirearm,ammunition,destructivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespecificpurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).
1l.You mustnotactormakeany agreementwith a1aw enforcelnentagencytoactasaconfidentialhum an sourceorinfonnant
withoutfirstgettingthepermission ofthecourt.
12.Iftheprobationoftkerdetelnninesthatyouposearisktoanotherperson(includinganorganization),theprobationofticermay
requireyoutonotify theperson abouttherlsk andyou mustcomplywith thatinstruction.Theprobation officermay contactihe
person andconfil'm thatyouhavenotitiedtheperson abouttherisk.                                        '
 13.Youmustfollow theinstructionsoftheprobationofficerrelatedtotheconditionsofsupervision.

U .S.Probation O ffice U se O nly
A U .S.probation officçrhasinstructed meon theconditionsspecifiedby thecourtand hasprovidedm ew ith awrittencopy ofthis
jttdgmentcontainingtheseconditions.Iunderstandadditionalinfonnationregardingtheseconditionsisavailableat
w ww.flspauscouls.cov.
                     .

 Defendant's Signature                                                                 D ate
    Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 5 of 7
'
    AO245t
         4 (Rev.PLSD2/20)JudgmentinaCriminalCase                                    Judgment--Page 5of7

DEFENDANT:               PEDRO M ARRERO SIM ON
CASE NUM BER:            1:21-CR-20218-AHS(5)
                              SPEC TA L C O N D ITIO N S O F SU PE R V ISIO N
FinancialDisclosureRequirem ent:Thedefendantshallprovidecomplete accessto financialinform ation,
                                                                                     .


including disclosureofa11businessand personalfinances,to the U.S.Probation Officer.
PermissibleSearch:Thedefendantshallsubmittoa search ofhisperson orproperty conducted in areasonable
mannerand atareasonabletim ebytheU .S.Probation Officer.

SubstanceAbuseTreatm ent:Thedefendantshallparticipatein an approvedtreatmentprogràm fordrug
and/oralcoholabuseand abideby a1lsupplementalconditionsoftreatment.Participation m ay include
inpatient/outpatienttreatment.Thedefendantwillcontributetothecostsofservicesrendered (co-payment)
based on ability topay oravailability ofthirdparty paym ent.
Unpaid Restitution,Fines,or SpecialAssessm ents:Ifthe defendanthasany tmpaid nmount'ofrestitution,
fnes,orspecialassessm ents,the defendantshallnotify theprobation officerofany materialchange in the
defendant's econom ic circum stances thatm ightaffectthe defendant's ability to pay.
    Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 6 of 7
    AO2451(Rev.FLSD2/20)JudgmentinaCriminalCase                                                                Jtldgment--Page6 of7
'


DEFEN DANT:                  PEDRO M ARRERO SIM ON
c:X
  ,.
   sENUMB.ER:
    ,
                '            1:21-CR-20218-AHS(5)
                                      C R IM IN A L M O N ETA R Y PEN A L TIE S
            '

    '
        .   Thedefendantmust a thetotalcriminalmoneta enaltiesunderthescheduleof a ments a e,
                          Assessm ent          Restitution        Fine     Av AA .Assessm entW . JVTA Assessm entf'fr
    TOTXLS                      $100.00                    $.00             $.00
        Thedeterminationofrestitutionisdeferreduntil           AnAmendedludgmentinaCriminalCase(AO245C)willbeentered
        aflersuchdetennination.                                                                                 '
    IZI Thedefendantmustmakerestitution'(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
            lfthedefendantmakesapartialpayment,each payeeshallreceivean approximately proportioned payment.Howeyer,pursuantto 18U.S.C.
            j3664(1),a11nonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.


    E(41 Restitutionamountorderedpursuanttopleaagreement$
    I
    Z Thedefendantmustpayinterestonrestitutionandafmeofmorethan$2,500,unlrsstherestitutionorfineispaidinfullbefore
         thefifteenthdayafterthedateofthejudgment,pursuantto 18U.S.C.j3612(9.Al1ofthepaymentoptionsonthescheduleof
         paymentspagemaybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
    Eql Thecoul-tdetenninedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
         EI() theinterestrequkementiswaivedforthe EEI fine                        (() restitution
         (7) theinterestrequirementforthe             Eql fine                    (
                                                                                  r(j restitutionismodifiedajfollows:
      Case 1:21-cr-20218-AHS Document 435 Entered on FLSD Docket 08/26/2022 Page 7 of 7
     Acs245J(Re
              'v'
                .irlxo2/20)Judgmentinacriminalcase
     :       (
    DEFéNbANT:                            PEDRO MAltltElto slMox
    CASE NUMBER:                          1:21-CR-20218-AHS(5)
                                                      SCH E D U LE O F PA Y M E N T S
!   Havinga/sessedthedefendant'sability topay,paymentofthetotalcriminalmonetary penaltiesisdueasfollows:

     A             EI Lumpsum paymentsof$100,
                                            00dueimmediately,balancedue
     ;''''         .
    Itidordèred thattheDefendantshallpay totheUnited Statesa specialassessm entof$100.00forCount1,which shallbedue.
    im mediatelh jaidspecialassessmentshallbepaid totheClerk,U.S.DistrictCourt.Paymentistobeaddressed to:. '..u '
                          . .         '                                                                                        . ,.   ' .
                                .                                                                                      '        .i


                       U.S.CLERK 'S O FFICE
             ' .
                       ATTN :FINAN CIAL SECTIO N
         ?         '
                       400 NORTH M IAM IA VENUE,RO O M 8N09
                       M IAM I,FLO RIDA 33128-7716

    Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
    dueduring imprisonment.Al1criminalmonetary penalties,exceptthosepaymentsm adethrough theFederalBureau ofPrisons''
    InmateFinancialResponsibility Program,aremadetotheclerk ofthecourt.

    Thedefendantshallreceivecreditfora11paymentspreviously madetoward anycriminalmonetary penaltiesimposed.
     L             Jointand Several
                   SeeaboveforDefendantandCo-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
                   SeveralAmount,and correspondingpayee,ifappropriate.                                     .
                                                                                                                                                7
                   Thedefendantshallforfeitthe.defendant,sinterestinthefollowing propertytotheUnited States:               .                .
                                                                                                                                                :
                                                                                                                                                J
                   FO RFEITURE ofthedefendant'sright,titleand interestin certain property ishereby ordered consistentw ith theplea
                   agreem ent.TheU nited Statesshallsubm ita proposed O rderofForfeiturew ithin threedaysofthisproceeding.

     Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restimtioninterest,(4)AVAA assessment,(5) .
    tineprincipal,(6)fineinterest,(7)community restitution,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
    and courtcosts.                                                                                                .
